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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

RIO REAL ESTATE INVESTMENT
OPPORTUNITIES, LLC, a NeW Mexico
limited liability company,

VS.

Plaintiff,

Case Nulnber: 1:12-cv-0075 8~JAP~ACT

TESLA MOTORS, INC., a DelaWare

 

corporation,
Defendant.
NOTICE T() TAKE- DEPOSITION ()F
MICHAEL TAYLOR
TO: Michael Taylor

c/o Andrew G. Schultz

Rodey, Dickason, Sloan, Akin & Robb, PA
P.O. Box 1888

Albuquerque, New Mexico XXX-XX-XXXX

PLEASE TAKE NOTICE that the attorneys for Plaintiff Rio Real Estate Investment

Opportunities, LLC, Will take the Deposition of Michael Taylor beginning at 9:00 a.rn. on March

21, 2013 at the offices of Tesla Motors, Inc., 3500 Deer Creek Road, Palo Alto, CA 94304

before a certified court reporter. The Deposition so taken may be used at trial pursuant to

Fed.R.Civ.Pro. 32.

LASTRAPES, SPANGLER & PACHECO, P.A.

Christopher M. Pacheco

LeeAnn Werbelow

Attorneys for Plaintiff

P. O. Box 15698

Rio Rancho, NeW Mexico 87174
Telephone: (505) 892~3607

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I hereby certify that a true and
correct copy of the foregoing Was
mailed by electronic mail and United
States ail to counsel of record on
this ' day of February, 2013.

 

Chris'(opher l\/I. Pacheco

